                          UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF TENNESSEE
                                   AT GREENEVILLE



 UNITED STATES OF AMERICA                                    )
                                                             )
 v.                                                          )       NO. 2:02-CR-71(01)
                                                             )
 ALLEN MARK AJAN                                             )




                               MEMORANDUM AND ORDER

        Allen Mark Ajan (“Ajan”) was convicted on December 19, 2002, of several drug-related

 offenses, aiding and abetting a kidnapping, and two § 924(c) firearm offenses, [see Doc. 157].

 He was sentenced on April 28, 2003, to a total term of six-hundred forty-six (646) months of

 imprisonment—two-hundred sixty-two months (262) months as to Counts 1 and 3 (conspiring to

 distribute and possession with the intent to distribute five grams or more of methamphetamine

 and possession with intent to distribute five grams or more of five grams of methamphetamine),

 two-hundred forty (240) months as to Counts 6 and 9 (distribution of methamphetamine and

 aiding and abetting kidnapping), concurrently, and three-hundred eighty-four (384) months

 consecutive as to Counts 7 and 10 (the § 924(c) charges). [See Doc. 220]. After Ajan’s direct

 appeals were exhausted, he filed a motion to vacate pursuant to 28 U.S.C. § 2255.

        This Court granted in part and denied in part the § 2255 motion, vacating one of Ajan’s §

 924(c) convictions (Count 10) and entered an amended judgment excising the unlawful term of

 imprisonment and reimposing the original term on the remaining counts. [See Docs. 339, 362,

 363, 364]. On appeal, the Sixth Circuit found the record ambiguous as to whether the Court was

 aware of its statutory discretion to resentence Ajan on the remaining counts rather than to correct


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 his sentence as it did. The amended judgment was therefore vacated and the case remanded for

 further post-section 2255 proceedings for the Court to exercise its discretion to choose from one

 of the four enumerated § 2255 remedies. Ajan v. United States, 731 F.3d 629 (6th Cir. 2013).

 After the Sixth Circuit mandate was entered, the Court appointed counsel to represent Ajan and

 directed the parties to file a brief in regard as to whether or not resentencing is appropriate in this

 case. [Doc. 451]. Those briefs have now been filed, [Docs. 452, 454].

        Once a judgment is vacated, the district court may grant one of four remedies “as may

 appear appropriate”: (1) “discharge” the petitioner, (2) “resentence” the petitioner, (3) “grant a

 new trial,” or (4) “correct” the sentence. 28 U.S.C. § 2255(b). Here, the only appropriate

 choices are to “correct” the sentence or to “resentence” Ajan. Ajan submits that resentencing is

 appropriate. The United States, on the other hand, although acknowledging the Court’s authority

 and discretion to resentence, argues that resentencing is unnecessary and inappropriate here, and

 that the Court should merely “correct” Ajan’s sentence and reimpose the original sentence as to

 the other counts of conviction . For the reasons which follow, the Court concludes, although it is

 a close call, that resentencing is appropriate here.

        The government somewhat persuasively argues that “the absence of a change in

 petitioner’s total offense level upon the vacation of Count 10 demonstrates that resentencing on

 the remaining counts is unnecessary” and that to grant a resentencing “would seem to confer

 upon petitioner a windfall unrelated to the substance of his Combs claim.” These           arguments

 make sense and are consistent with the Court’s prior rationale when it originally chose to correct

 Ajan’s sentence rather than order a resentencing. Ajan advances several arguments in support of

 his request for resentencing. He argues that his original sentence on the remaining counts of

 conviction was procedurally unreasonable, that the calculation of his guidelines range as to those



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 counts was erroneous for various reasons, including that he was erroneously determined to be a

 career offender, and that resentencing is the preferred, if not required,1 remedy under § 2255.

 None of these arguments are persuasive.

          The factor which tips the balance in favor of resentencing, however, is that Ajan’s

 original sentencing was under mandatory Guidelines which have subsequently been declared

 unconstitutional. See United States v. Booker, 543 U.S. 220 (2005). Although it may indeed be

 a windfall for Ajan, he should be resentenced “for his far less egregious set of convictions” under

 advisory guidelines where the Court can consider the 18 U.S.C. § 3553(a) factors and fashion a

 sentence “sufficient , but not greater than necessary.” The Court will therefore resentence Ajan

 de novo and will, by separate order, direct the Bureau of Prisons to relinquish custody of the

 defendant to the United States Marshal to be transported to this district for resentencing.

                   So ordered.

                   ENTER:


                                                                                      s/J. RONNIE GREER
                                                                                UNITED STATES DISTRICT JUDGE




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    The Sixth Circuit made it clear that resentencing in this case is not required and remanded the case for this Court to
 determine whether or not resentencing in the case is appropriate or whether the Court should merely correct the
 sentence. Indeed, the Sixth Circuit stated that “In the end, on remand, Ajan may not prevail on the merits of his
 argument that he is entitled to a resentencing and a lower sentence. Not ‘every [sentencing] appeal will lead to a new
 sentencing hearing.’” Ajan, 731 F.3d at 634 (quoting United States v. Booker, 543 U.S. 220, 268 (2005)).

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